Se 2:24-cv-11243-GAD-Cl ECF No. 1-1, PagelD.101 Filed 09/1 .P 3
MICHIGAN DEBART MENG OF CORRECTIONS g Wf . PXStrO

CSJ-228
‘MISCONDUCT REPORT 10/10 4835-3228

Prisoner Number: Prisoner Name: Facility Code: | Lock: Violation Date:
266511 Reyes JCF A-56 6-21-2022
Time and Place of Violation: Contraband Removal Record Provided to Prisoner?

1455 A unit [] Yes Date J NIA

Misconduct Class: [] 1 Bj a (J m Charge(s): Disobeying a Direct Order

Describe Violation (If contraband involved, describe in detail; identify any other employee witnesses):

Al approx 1455 hrs inmate Reyes 266511 (A-56) came down to base and began standing behind the officers desk by the hallway. | gave him
a direct order to leave and he stated "I'm waiting for the arus.” | stated “There is no arus now go away” and he stated "you can't make me ga
away” and began walking through the hallway. PC Crowley stated “if the officer to!d you to leave then leave, go away." Inmate Reyes still
refused to leave the area and began getting loud yelling that this officer cannot make him go away. | ordered him to leave several times and
he refused, | then ordered inmate Reyes from 2 ft away to turn around and be. cuffed and he stated “you're not cuffing me" and began to walk
away and go upstairs. As | followed him he went into his cell and crdered him approx 3 more times to cuff up and he continued walking away
and tellimg me he wasn't gaing to cuff him. | cailed for assisstance and when other officers arrived only then did inmate Reyes allow himself to
be restrained. At no time did he comply with any of the several orders given to him by me but only to argue with me and walk away after being
ordered to be handcuffed.

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=, --
Reporting Staff Member's Name (Print) | eps Sta
—_ -

Date and Time Written.
6-21-2022 1615

's Signature
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D. Keiser

REVIEW
Location/Verification/Condition of Evidence: friSQarybucry ver ReAegid GAG AtaAQ 2 |Gaornw,s Cuan
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Elevated to Class lafreview: Vif “yes", eXpiai e
rl No es ioe Be tp doe coho o> He (gcondo} = Per Lt Mess
Cc} COMPLETE THIS SECTION ONLY FOR REVIEW GF CLASS | MISCONDUCT

Status Pending Hearing: [_] Bond ("] Segregation ~ BX Eontinement to Cell/Room LJ] Qther

Reason if Non-Bond: [_] Non-Bond List Bend Revoked (must give reasonit \ y@, ko tho rihne o Mas (Valores
Date and Time Given this Stgtus; Who Notified in Housing Unit of Status: Ke a

moa (Jas.

Hearing Investigator Requested? C] No PY Yes Witnesses Requested? Px re C] Yes TeaTINgs investigg
if yes, list:
Relevant Documents Requested? ‘a No CL] Yes .
yes, list: JUL 0 7 2022
bates

| .
Additional Comments: LV iD) Prisoner Waives 24 Hour Neveg oj Meas ? Aono OO Yes
a ;

| Hearing Date:

Reviewing Officer's Name (Print } i | Reviewing OTD Review Date and Time

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\have received a copy of this report. My éignature does not | Prisoner's Signature 4 Date

espe mean that | agreew ?

Prisoner refused ign. Copy given to prison Ap

L- NN ___WAIVER OF CLASS Ii OR III HEARING
| understand | have a right to a hearing. | waive my rightto | Prisoner's Signature Date
a hearing and plead guilty to all charges. | also waive my ,
nght to appeal and accept the sanctions imposed. |

SANCTIONS IMPOSED (Hearing Investigator enters begin and end dates for Class lil misconducts)

_. Days Toplock Begins: _.. Ends «ss Coounsseling/Reprimand (Class III only)
_. DaysLoss of Privileges Begins, =  —s Emds)——— UO $ Restitution (Class II only)
__ Hours Extra Duty Begins) ——s—s—Cs_sé#Endss:
Property Disposition If Applicable:
Employee Accepting Plea and Imposing Sanction (Print) Employee's Signature | Date
I
Hearing Investigator’s Name (Print) Hearing Investigator’s Signature Date

Distribution: Prisoner; Counselor File: Record Office File (Class | and Il}; Central Office Eile (Class |}; Hearing Investigator (Class | & Class [!)

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Case 2:24-cv-11243-GAD-CIl ECF No. 1-1, PagelD.102 Filed 05/10/24. ae ekg oe

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_ MICHIGAN DEPARTMENT OF CORRECTIONS | “dib-ar royoa
PRISONER/PAROLEE GRIEVANCE FORM es So CSERATA
Date Received at StepT _- . Grievance Identifier: [5.15 | 912 ee Lu Lia SDAl

f Name {print first, last)

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What attempt did you make to resolve this issue prior to writing ms me On what et

If none, explain why. “Te, { in = aL
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State problem clearly. Use separate grievance form for each issue. Additional pages, in paper, 6S € Us
,. Four copies of each page and supporting documents must be submitted with this form. The grievance must be submitted

* to the Grievance Coordinator in accordance with the time limits of OP 03.02.130.
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RESPONSE (Grievant Interviewed? Yes Eno If No, give explanation. If “resolved, explain resolution.)

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Respondent 5 Signature a Date Reviewer’s Signature Date.
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Respondent's Namie piss Working Title Reviewer's Name (Print) Working Title sy f-
Date Returned to _ | Ifresolved at Step I, Grievant sign here. RO
Grievant: af ad Resolution must be described above. Guevant’s Signature _ Date

DISTRIBUTION: White, Green, Canary, Pink — Process to Step One; Goldenrod — Grievant

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Case 2:24-cv-11243-GAD-CIl ECF No. 1-1, PagelD.103 Filed 05/10/24 Page 3 of 39

AT Vy 4835-4248 5/09

MICHIGAN DEPARTMENT OF CORRECTIONS
ne CS]-247B

PRISONER/PAROLEE GRIEVANCE APPEAL FORM

Date Received by Grievance Coordinator | - Grievance Identifier: SOY Lai 6| ih oO y id | io A!

at Step II: “7-7-3

INSTRUCTIONS: THIS FORM IS ONLY TO BE USED TO APPEAL A STEP I GRIEVANCE.
The white copy of the Prisoner/Parolee Grievance Form CS)-247A (or the goldenrod copy if you-have,not been provided
with a Step I response in a timely manner) MUST be attached to the whit fe copy bf this fort! jffou appeal it at both Step
II and Step ITI.
| AUG 1 9 2022
If you should decide to appeal the Step I grievance response to Step II, your appeal should be directed to:
¢ by “] -| ° _ If it is not submitted bY this date;zit will, be, gansidered terminated.

erred
if you should decide to appeal the response you receive at Step II, you should send your Step ILI Appeal to the Director’s
Office, P.O. Box 30003, Lansing, Michigan, 48909,

Name (Print first, last) Number Institution Lock Number | Date of Incident | Today’s Date

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STEP I — Reason for Appeal Oc avant Was O cmstith onal Ra \\ +g
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STEP II — Response Date Received by

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Date Returned to

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Respondent’s Name (Print)

Respondent’s

STEP LII — ee for Appeal _. J diaook & a Qn lo pale e miscenduct
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NOTE: Only a copy of this appeal and the response will be returned to you.
STEP IIT — Director's Response is attached as a separate sheet.

DISTRIBUTION: White ~ Process to Step Ii; Green, Canary, Pink - Process to Step II; Goldenrod ~ Grievant

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Case 2:24-cv-11243-GAD-Cl ECF No. 1-1, PagelD.104. Filed 05/10/24 Page 4 of 39

STATE OF MICHIGAN
GRETCHEN WHITMER DEPARTMENT OF CORRECTION: HEIDI E. WASHINGTON
GOVERNOR LANSING DIRECTOR
STEP Il] GRIEVANCE DECISION Rec#: 136988

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JCF-22-06-1242-27A
Step I Received: 8/10/2022

Grievance Identifier:

Your Step II appeal has been reviewed and considered by the Grievance Section of the Office of
Legal Affairs in accordance with PD 03.02.130, "Prisoner/Parolee Grievances".

THE REJECTION IS UPHELD.

THIS DECISION CANNOT BE APPEALED WITHIN THE DEPARTMENT. AUG 23 2022

‘yn

Richard D. Russell, Manager Grievance
Section, Office of Legal Affairs

CC; Warden, Current Facility:
Warden, Grieved Facility: J CE

GRANGVIEW PLAZA + P.O. BOX 30003 LANSING, MICHIGAN 48909
Case 2:24-cv-11243-GAD-CIl ECF No. 1-1, PagelD.105 Filed 05/10/24 Page 5 of 39

G. Robert Cotton Correctional Facility
Step IT Grievance Response
Grievant: Reyes # 266511

Grievance #: JCF-2022-06-1242-27A

] have reviewed the Step I grievance, Step | response along with the associated Step
II reason for appeal. The Step I grievance was rejected for the complaint being filed on
a non-grievable issue. At Step II you dispute the rejection.

Grievance Rejected

PD 03.02.130 “Prisoner/Parolee Grievances” defines what is grievable and non-grievable.
The grievance filed is a decision by hearing Officer. The grievance shall not be rejected
if there is a valid reason for the delay; e.g. transfer.

The step I rejection has been reviewed by the Warden’s office in accordance with P.D.
03.02.130 “Prisoner/Parolee Grievances” and the REJECTION IS UPHELD AT STEP
Il

Noah Nagy, Warden o Vi / 7? 2

Respondent’s Name/Position Respondent’s Sign € Baté

m, Case 2:24-cv-11243-GAD-Cl ECF No. 1-1, PagelD.106_ Filed-05/10/24- Page 6 of 39 >

FO ne lp

MICHIGAN DEPARTMENT OF CORRECTIONS gece ee |
PRISONER/PAROLEE GRIEVANCE. FORM . a CSERATA
Date Received at Step | 8 _. Grievance Identifier: Py be br EC

Be brief and concise in describing your grievance issue. If you have any questions conceming: the aitevan
procedure, refer to PD-03.02.130 and OP 03.02.130 available in the prisoti Law Library. ‘

Name (print frst last) Number Institution Lock Number

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What attempt did you make to resolve this issue issue prior to writing this grievance? On what date?

If none, explain why. _L dem \ Caney £8) Mis eS Oe: on
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Four copies of each page and supporting documents must be submitted with this form. The grievance: ‘must be: du
to the Grievance Coordinator in accordance with the time limits of OP 03.02.130. Oy, Wre aloory é de ‘ lo

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RESPONSE (Grievant Interviewed? [yes CINo _ IfNo, give explanation. If resolved, explain resolution.) -

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Respondent’s Signature Date Reviewer’ 8 Signature
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Respondent’s Name (Print) Working Title Reviewer"s Name (Print)
Bate Returned to If resolved at Step I, Grievant sign-here.
‘Grievant: : ;
Resolution must be described above. Grievant's Signature Date~

DISTRIBUTION: White, Green, Canary, Pink — Process to Step One; Goldenrod —- Grievant

Case 2:24-cv-11243-GAD-Cl ECF No. 1-1, PagelD.107 Filed 05/10/24 Page 7 of 39

G. Robert Cotton Correctional Facility
Step [I Grievance Response
Grievant: Reyes # 266511

Grievance #: JCF-2022-06-1257-28B

I have reviewed the Step I grievance, Step I response along with the associated Step
I reason for appeal. The Step I grievance was rejected for the complaint being filed on
a non-grievable issue. At Step H you dispute the rejection.

Grievance Rejected

PD 03.02.130 “Prisoner/Parolee Grievances” defines what is grievable and non-grievable.
The Step I grievance was rejected as vague/illegible/-EXTRANEOUS INFORMATION.
Per PD 03.02.4130 Grievance is vague as to what the main issue is or who you are
gneving. Gnevances need to state who, what, when, where why and how.

The step } rejection has been reviewed by the Warden’s office in accordance with P.D.
03.02.130 “Prisoner/Parolee Grievances” and the REJECTION IS UPHELD AT STEP
II

Noah Nagy, Warden
Respondent’s Name/Position Respondent’s Sj

0) | hoo
Date

Case 2:24-cv-11243-GAD-Cl ECF No. 1-1, PagelD.108 Filed YT) Page 8 of 39

MICHIGAN DEPARTMENT OF CORRECTIONS 4835-4248 5/09

PRISONER/PAROLEE GRIEVANCE APPEAL FORM CSJ-2478
Date Received by Grievance Coordinator. , az /arievance Identifier: Sick fy adlQ; b| | \ id SI 1a) GR
at Step I: sD

INSTRUCTIONS: THIS FORM IS ONLY TO BE USED/TO APPEAL A STEP I GRIEVANCE, _
The white copy of the Prisoner/Parolee Grievance Form C5)-247A (or the polgence pa copy | if yeurpey gjnat been provided
with a Step I response in a timely manner) MUST be attached to the white fee Yhis form it ppea! it at both Step

If and Step IM,
AUG 1 9 2022

If you should decide to appeal the eh I grievance response to Step I], you appeal should be directed to:
( C by -I3-3 > . If it is not submitted by this date, it! will ‘betohsidered terminated.

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If you should decide to appeal the response you receive at Step IT, you should send your Step III Appeal to the Director’s
Office, P.O. Box 30003, Lansing, Michigan, 48909.

Name (Print first, last) Number Institution Lock Number | Date of Incident | Today's Date
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STEP II — Response Date Received by

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Respondent's | Name (Print) Respondent's phature t ~) -|2-9. 3).

STEP III — Reason for Appeal © vevance p recess ot SOCK Show S a Pattern 6F
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NOTE: Only a copy of this appeal! the response will be returned to you.

STEP III — Director's Response is attached as a separate sheet.

DISTRIBUTION: White - Process to Step IJi; Green, Canary, Pink - Process to Step II; Goldenrod - Grievant
Case 2:24-cv-11243-GAD-CIl ECF No. 1-1, PagelD.109 Filed 05/10/24 Page 9 of 39

STATE OF MICHIGAN
GRETCHEN WHITMER DEPARTMENT OF CORRECTION. HEIDI E. WASHINGTON
GOVERNOR LANSING DIRECTOR
STEP II] GRIEVANCE DECISION Rec#: 136995

288

Grievance Identifier: JCF-22-06-1257-28B
Step HI Received: 8/10/2022

Your Step I appeal has been reviewed and considered by the Grievance Section of the Office of
Legal Affairs in accordance with PD 03.02.130, "Pnsoner/Parolee Grievances".

THE REJECTION IS UPHELD.

THIS DECISION CANNOT BE APPEALED WITHIN THE DEPARTMENT. AUG 23 2022

Kati

Richard D. Russell, Manager Grievance
Section, Office of Legal Affairs

CC: Warden, Current Facility; —7-
Warden, Grieved Facility: J cr

GRANDVIEW PLAZA + P.O. BOX 30003 * LANSING, MICHIGAN 48909
Case 2:24-cv-11243-GAD-Cl ECF No. 1-1, PagelD.110 Filed 05/10/24... Page 10 of 39
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Case 2:24-cv-11243-GAD-Cl

_MICHIGAN DEPARTMENT OF CORRECTIONS
-PRISONER/PAROLEE GRIEVANCE FORM

Date Received at Step I
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Name (print first, last)

ECF No. 1-1, RagelD.111 Filed 05/10/24 Page 11 of 39

4835-4247 10/94

CSI-247A

Grievance Identifier: | tt ty bap td papi tiit i

Number

Institution
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What attempt did you make to resolve this issue prior to writing this grievance? On what date?
Jo Vo

If none, explain why.

State problem clearly. Use separate grievance form for each issue. Additional Pages, using plain Paper, ma:
Four copies of each page and supporting documents must be submitted with this form.: -Tae-grjevance

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to the Grievance Coordinator in accordance with the time limits of OP 03.02.130.

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(DISTRIBUTION: White, Green, Canary, Pink — Process to Step One; Goldenrod — Grievant
Case 2:24-cv-11243-GAD-Cl ECF No. 1-1, PagelD.112 Filed 05/10/24 Page 12 of 39
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MICHIGAN DEPARTMENT OF CORRECTIONS CSJ-31
DISBURSEMENT AUTHORIZATION (EXPEDITED LEGAL MAIL ~ PRISONER) REV. 11/15 4835-3318

Please PRINT clearly, illegible and/or incomplete forms will not be processed.

Lock «>>, Institution

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DISTRIBUTION: [] Prisoner Accounting [[] Prisoner [[] Counselor's File {C] Prisoner
Case 2:24-cv-11243-GAD-Cl ECF No. 1-1, PagelD.113 Filed 05/10/24 , Page 13 of 39
MICHIGAN DEPARTMENT OF CORRECTIONS tC ae h k CSJ-240B

CLASS ! | MISCONDUCT HEARING REPORT Rev. 10/10

“Prisoner! "04: Prisoner, Name Ee =: Facility Code. | Lock. )2"° =F Violation Date
266511 JCF D-56 06/21/2022
‘Charge{s) = “os MSRM ee Cay IE ee
(020) Disobeying 2 a Direct Order
If Charge Changed by Hearing Office Plea ee oe ne
(J Guilty EX} Not Guilty
Misconduct Report Read to and Discussed with Prisoner EX] (check if applies) No Hearing Investigation Requested

Hearing Investigation Read to and Discussed with Prisoner [X] (check if applies) (check if applies)
we Bei 322 EVIDENCE/STATEMENTS IN ADDITION TO- MISCONDUCT REPORT:.

The hearing was conducted by video with the prisoner present. The prisoner was confined since June 214, The hearing
was timely held on the 5th business day after confinement. The hearing packet consists of the Misconduct Report (1 page),
Hearing Investigation Report (1 page), statement from the prisoner (4 pages), email from P.C. Crowley (1 page),
Memorandum from Hearings Investigator (1 page), CSJ-572C (1 page), HID list (1 page), and Offender Restriction Filter
Report (1 page).

“Continued on page 2. ulisny
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REASONS FOR FINDINGS ©

Due process: the prisoner has a hearing impairment. His preferred method of communication is voice without hearing aid.
ALJ spoke loudly and deliberately during the hearing. ALJ finds that the prisoner was able to understand and communicate
effectively with ALJ based on his ready communications with ALJ and appropriate responses to questions. In addition, the
prisoner said that the reviewing sergeant spoke loud enough for the prisoner to hear him. The Hearings Investigator also
documented that the prisoner could hear her. ALJ finds that the prisoner was able to communicate and participate
meaningfully in every stage of the hearings process. There was no due-process violation.

**Continued on page 2.

PSO" pot! PROPERTY DISPOSITION (for contraband see PD 04.07.112) <0" "

ve CE ee 7 vos TE FINDINGS : ee eee Lee eT oo
Charge No. 1 J] Guilty L] Not Guilty [] Dismissed Reporting Code 020
Charge No. 2 C) Guilty CL) Not Guilty [} Dismissed Reporting Code
Charge No. 3 CI Guilty LJ Not Guilty CL] Dismissed Reporting Code
Charge No. 4 CO Guilty £1] Not Guilty [] Dismissed Reporting C Code
ee * DISPOSITION (select’one or more) (Toplock & LOP Sanetioris End at 6:00 am) Boe

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Days Top Lock Hours Extra Duty
14 Days Loss of Privileges 06/28/2022 07/12/2022 $ Restitution
Misconduct Hearing Report personally handed to Prisoner by | Hearing Report given to Staff Member by Hearing Officer for Delivery to
Hearing Officer on this date: (Check if Applies} [_] Prisoner this date: 7/1/2022 (Check if Applies} XJ
Date of Hearing 06/28/2022 Name of Staff Member HI Austin - JCF
-Heanng Officers Nam ture

071 Schneider Md EEA L£I 7/01/2022

DISTRIBUTION CO Record Cffice O Centra! Office File DO Prisoner © Counselor File O Hearing Investigator

Arr aAvalinsAe At 1

Case 2:24-cv-11243-GAD-Cl ECF No. 1-1, PagelD.114 Filed 05/10/24, Page, 14 of 39

"MICHIGAN DEPARTMENT OF CORRECTIONS CSJ-240D 12/90
4835-4243
CLASS | MISCONDUCT HEARING REPORT —- Continuation Page No. 2
(Fype of Hearing)
Prisoner Number Prisoner Name institution Violation/Notice Date
266511 Reyes JCF 6/21/2022

(Continued from Page One: Evidence/Statements):

Prisoner's testimony: the prisoner pled not guilty. ALJ asked the prisoner if he was told to leave the area, and he said,
“No sir." ALJ asked what the officer told him, and he said, “Just kept telling me | had to lock down. | was like, ‘Why do |
have to lock down?’ He said there was no ARUS, and | said the ARUS is coming and said | could meet with him.” ALJ
asked the prisoner his preferred method of communication, and ne said, “| can hear you just fine.” ALJ asked if he could
hear the sergeant at review, and he said, "Yes sir.” ALJ asked if he has hearing aids, and he said, “I do, but I'm not used
to them, sol hardly use them, so they my secondary option.” ALJ asked the prisoner if he had anything else to add, and
he said, "No."

Video: at 14:55:22, Officer Keiser (sitting behind desk) spoke to Prisoner Reyes (white shirt, blue pants) as Reyes
walked toward the desk. Reyes walked behind the desk and stood by the drinking fountain. At 14:55:47, Reyes turned to
face Keiser as they spoke. Keiser pointed away from the desk toward base while speaking to Reyes. At 14:55:56, Keiser
pointed again. At 14:56:01, Reyes had turned from Keiser and spoke to PC Crowley (black shirt) as Crowley was
returning to his office. Reyes said something to Keiser, who jumped up out of his chair at 14:56:11. Keiser walked toward
Reyes, who walked away down the hall. At 14:56:20, Keiser caught up with Reyes at Crowley's office, spoke to him, and
pointed back toward base. Reyes pointed into the office and spoke to Crowley. At 14:57:09, Keiser spoke to Reyes and
again pointed down the hall, and Reyes finally left.

(Continued from Page One: Reasons for Findings):

Disobeying a Direct Order is a prisoner's “[rlefusai or failure to follow a valid and reasonable order of an employee.”
MDOC PD 03.03.105B. Normally, orders must be obeyed fully and immediately so that control and order can be
maintained. An exception exists if compliance “would create a significant risk of serious harm’; it's the prisoner's burden to
establish. Hearings Handbook(V}(G)(4), pages 48-49. Based on the report and the prisoner's admission, ALJ finds that
the prisoner was given an order to leave the desk area, heard it because he was in a conversation with the officer and
because the officer pointed away while speaking, and refused it. The order was facially valid and reasonable because
prisoners are required to follow officer movement orders at al! times. The prisoner does not claim any exception, such as |
risk, but he claims that he had authorization from Crowley to go to the office. There are two defects in that argument: first, |
the officer had already given the order to leave and pointed away before the prisoner spoke to Crowley, so the offense was
already complete when the prisoner did not immediately leave. Second, the officer is custody staff, and his order to leave
overrode any authorization the prisoner had to be there. The elements of the offense are met, and the charge is upheld.
The prisoner was informed of the findings, sanction, and sanction dates.

The Misconduct Sanction Assessment is held confidential to avoid disseminating protected health information.
END OF REPORT.

H :
€arings Investigator

JUL 07 2022
Austin
HEARING OFFICER’S NAME & CMIS CODE (Typed) | Copy of Hearing Report personally handed to
ALE Schneider 071 Prisoner by Hearing Officer this date (check if applies) [J
HEARING OFFICER'S SIGNATURE Copy of Hearing Report Given to Staff Member by Hearing
. Officer for Delivery to Prisoner this date 7/4/2022 (check if applies) Dd
s/ ALJ Schneider Date of Hearing {Name & Clock No. of Staff Member}
6/28/2022 HI Austin - JCF

DISTRIBUTION: White -— institution; Green - Central Office; Canary — Prisoner, Pink — Visitor/Counselor, Goldenrod — Hearing Investigator
Case 2:24-cy-11243-GAD-Cl ECF No. 1-1, PagelD. Filed 05/10/24 Page 15 of 39 _
—— 6 - ( Esk l.
MICHIGAN DEPARTMENT OF CORRECTIONS
092,

REQUEST FOR REHEARING RESPONSE

PRISONER NUMBER Name: Facility:
266511 Reyes JCF
Misconduct Date: Hearing Officer: Hearing Date: Received Date ] Warden RFR
6/21/2022 071 6/28/2022 7126/2022 P 1 Prisoner RFR

ist Charge 0 020 - Disobeying a Direct Order (DDO)
2nd Charge
3rd Charge
4th Charge:
4 REHEARING DECISION +

A request for rehearing in the above referenced matter is submitted by the prisoner who continues to argue his case.

PD 03.03.105 “Prisoner Discipline” and its attachments contain the definitions of the misconduct charges and gives
notice of how and what a prisoner may be charged with and that a rehearing shall be granted only for the following
reasons:

1. The record of testimony made at the hearing is inadequate for the purpose of judicial review.

2. The hearing was not conducted pursuant to applicable statutes or policies and rules of the Department and the
deviation from policy, rule, or statue resulted in material prejudice to either party.

3. The due process rights of the prisoner have been violated.

4. The decision of the hearing officer is clearly not supported by competent, material, and substantial evidence on
the whole record.

5. The officer who conducted the hearing was personally biased.

In this case, the prisoner was charged with and found guilty of Disobeying a Direct Order (DDO). All relevant issues
were adequately addressed by the Administrative Law Judge (ALJ) in the hearing report. While the prisoner alleges at
Request for Rehearing that there was a due process violation by the absence of witnesses and answers to questions,
the record indicates that the prisoner did not request any documents or witnesses at review. The prisoner also did
not raise these issues at the hearing. The prisoner offers no new verifiable evidence not available at the original
hearing.

A rehearing is granted only when it appears a prisoner may not have received due process (when at least one of the
5 elements above have been met), or in the rare case when new, verifiable, and relevant evidence is presented that
was not available at the time of the hearing. None of these conditions has been met.

The hearing was conducted pursuant to applicable statute, and policy and rules of the Department. The decision of
the hearing officer is supported by competent, material, and substantial evidence on the whole record. No bias is

apparent and there is insufficient evidence presented on appeal that would support granting a rehearing on the
matter.

The Request for Rehearing is DENIED.

Decision: A ed i
ecision: [1 Avprov C1 Retumed without action; Not filed within 30 calendar days Date Mailed:
i] Denied Hh A :
&| 4 RICHARD D. RUSSELL, HEARINGS ADMINISTRATOR MAILED SEP 01 2022

Case 2:24-cv,

3-GAD-CI ECF No. 1-1, PagelD.116 Filed O5@10/24 Page 16 of 39

-4
N DEPARTMENT OF CORRECTIONS REV soto
UEST FOR REHEARING 4835-3418

INSTRUCTIONS

1. This form is to be used only to request reconsideration of the decision of a hearing officer on one of th

Class 1 Misconduct.

Notice of Intent to Classify to Administrative Segregation.

Special designation which permanently denies Community Residential Program (CRP) plagement.

Visitor restriction.

High or very high risk classification.

excess legal property hearing.

. Special Education Individual Education Planning Committee (IEPC)} hearing.

2. You MUST attach a copy of the hearing report to this request and, if appealing a misconduct he
Class 1 Misconduct Report. If they are not attached, this form may be returned to you without
not have to include a copy of the Hearing Investigation packet.

3. Submit the completed form to: Hearings Administrator, Department of Corrections, Office of Legal Affairs, P.O.
Box 30003, Lansing, Michigan 48909. This form must be received by the Hearings Administrator within 30
calendar days of the date of the decision by the hearing Officer.

omoangca

PRISONER'S NUMBER PRISONER’S NAME INSTITUTION
2665114 ayes JCF
DATE OF MISCONDUCT TYPE OF HEARING (IF MISCONDUCT, LIST CHARGES ALSO)
06/21/2022 Misconduct; Disobeying a Direct Order
DATE OF HEARING
06/28/2022

Briefly exptain why you believe a rehearing should be ordered:

A copy of the misconduct and hearing report is attached as ATT. ‘-ACHMENT I. My basis for appeal
is that (1) the record testimony made at the hearing is inadequate for purposes of judicial review —
(2) my hearing was not conducted pursuant to department policy and I suffered material predudice
thereform: and (3) my due process rights were violated where the ALJ failed to place on the record
why my questions to various staff witnesses as detailed in the Hearing Investigation Report
(atiached as ATTACHMENT 2) were "relevant". PD-03.30.105(V) Prisoner Disciple states that
"lallthough the Hearing Investigator may initially determine if a question should be asked ... the
ALI has the final authority..." Also, "At a Class I hearing, any failure to call a witness, or to ask
questions presented by the prisoner to a witness, must be included or addressed in the written
decision and the ALJ must give specific reasons for the decision to exclude those questions or
witnesses.” Hearings Handbook (III)(D)(1), Page 28. Here the ALI did not state the reasons for
finding the questions irrelevant and thus, deprived me of the opportunity to have such finding
placed on the record for judicial review. This deprived me of due process as well, I request a
rehearing.

SIGNATURE OF PERSON REQUESTING REHEARING DATE

DECISION

FR Disapproved

==

SEE ATTACHED

C1] Approved - Rehearing Ordered
Cl Returned without action - Not filed within 30 calendar days

HEAR MI RATOR DATE
iT aN of f Sey /) MAILED SEP 01 202
- if

ATSCTPIRIITION: White — Hearings Administrator; Canary - Person Requesting Rehearing

Case 2:24-cv-11243-GAD-CIl ECF No. 1-1, PagelD.117 Filed 05/10/24 Page 17 UY

MICHIGAN DEPARTMENT OF CORRECTIONS MT) 4835-4247 10/94
PRISONER/PAROLEE GRIEVANCE FORM CSJ-247A

Date Received at Step | Hiya Grievance Identifier: [Say [d12| WA Lys LOLI

Name (print first, last) Number Institution |Lock Number [Date of Incident] Today's Date
lycone, Keyes Rowsi, |Tor | A-5G |N-9-24)j 19-20
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If none, expiain why.
Asked ofc. Ho sley +o Ca\\
Whe. Wle refused),

State problem clearly. Use separate grievance form for each issue. Additional pages, using plain paper, may be used.
Four copies of each page and supporting documents must be submitted with this form. The grievance must be submitted
to the Grievance Coordinator in accordance with the time limits of OP 03.02.130.

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RESPONSE (Grievant Interviewed? L] Yes NJ No If No, give explanation. If resolved, explain resolution.)

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Respondent’s ee \ Date Se cy Signature

Respondent's cam (fran Working Title Reviewer's Name (Print} Working Title

Date Returned to If resolved at Step I, Grievant sign here.
Grievant: |} -\$-32, Resolution must be described above.

Grievant’s Signature Date
DISTRIBUTION: White, Green, Canary, Pink — Process to Step One; Goldenrod — Grievant

Case 2:24-cv-11243-GAD-Cl ECF No. 1-1, PagelD.118 Filed 05/10/24 Page 18 of 39 |

Sey PAN

MICHIGAN DEPARTMENT OF CORRECTIONS 4835-4247 10/94

PRISONER/PAROLEE GRIEVANCE FORM CSJ-247A

Date Received at Step I \\-14- o> Grievance Identifier: (Sak lati i\ Ly as) 1% Bil

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RESPONSE (Grievant Interviewed? LI Yes NlNo If No, give explanation. If resolved, explain resolution.}

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DISTRIBUTION: White, Green, Canary, Pink — Process to Step One: Goldenrod — Grievant

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* of)

You have received a fPQY Ietter, the fastest way to get mail

From +: TYRONE REYES, ID: 266514

To: Marjorie Tains, CustomerlD: 2031960

Date . 1/2/2023 10:27:14 AMEST, Letter ID: 1667946465
Location: TCF

Housing : AAO8BBOTA

To: Karmen Bussell, RN
MDOC

From: Tyrone L, Reyes,
#266511 (JCF)

Date: 1/3/23

Re: Complaint against H.U.M. S. Landfair and JCF Health Service

RN Bussell, | hope this letter reaches you in good heaith. I'm writing this complaint, because | have been
having several problems at this facility | injured my ankle in October and they diagnosed it as a high ankle sprain.
Over a period of time | notified health care that | believe it fracture, because I'm feeling pain from my toes to my shin.
I spoke to ADW Keiser, who spoke to health service and they told her | was reassessed on Dec. 13th, 2022.

This facility is being deliberately indifference to the severe pain I'm in. | was told to contact you with this issue,
because you're the regional supervisor. If this is not the case, please forward this to the person who has the authority
to do something about this.

Thank you for your time and help in this matter.

Yours truly,
Tyrone Reyes

Case 2:24-cv-11243-GAD-Cl ECF No. 1-1, PagelD.120. Filed 05/10/24" Page 28 pF 3%

MICHIGAN DEPARTMENT OF CORRECTIONS.
' PRISONER/PAROLEE GRIEVANCE FORM

_ Grievance Identifier: | 4]

Date Received at Step Ie:

Name (print first, last) Number Institution {Lock Number _ [Date of Incide

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RESPONSE (Grievant Interviewed? [Clyves O No — IfNo, give explanation. If resolved, expla

Respondent's Signature Date Reviewer’s Signature
Respondent’s Name (Print) _ Working Title Reviewer’s Name (Print)
Date Returned'to, if resolved at Step I, Grievant sign here.

Grievant: | Resolution must be described above.  Gnevant’s Signature

DISTRIBUTION: White, Green, Canary, Pink — Process to Step One; Goldenrod — Grievant

case 2:24-cv-11243-GAD-Cl ECF No. 1-1, PagelD.121 Filed 05/10/24 Page art of3o

MICHIGAN DEPARTMENT. OF CORRECTIONS
_PRISONER/PAROLEE GRIEVANCE FORM

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RESPONSE (Grievant Interviewed? Ll ves LINo _ IfNo, give explanation. If resolved, explain rg

Respondent’s Signature’. — Date Reviewer’s Signature -

Respondent’s Name (Print) . . _ Working Title Reviewer’s Name (Print)

Date Returned to. If resolved at Step I, Grievant sign here.
Grievant: | Resolution must be described above. .

Grievant's Signature
DISTRIBUTION: White, Green, Canary; Pink — Process to Step One; Goldenrod — Grievant

Case 2:24-cv-11243-GAD-Cl ECF No. 1-1, PagelD.122 Filed 05/10/24 Page 22 of 39
Oo 7 -
TYRONE REYES 266511 JCF Lock:AS6BOTU 1D:1658570121 [P 1/1] EX6P FE

You have received a Jpay letter, the fastest way to get mail

From : TYRONE REYES, ID: 266511

To: Marjorie Toins, CustomeriD: 2031960

Date: 12/20/2022 1:49:03 PMEST, Letter ID: 1658570121
Location: JCF

Housing : ASGBOTU

TO: Warden Nagy,
(JCF)

From: Tyrone Reyes
#266511 (JCF)

Re: Complaint on Grievance Coord.

Warden Nagy, | have submitted several grievances over the course of several months. G.C. Cabbs, has either
rejected them for bogus reasons and/or refuses to process my other grievances. | have requested Step II grievance
forms for some of them and he refuses to send them to me. It seems tike everytime | write a grievance on someone
on the administration level he rejects them. This is an ongoing practice by the grievance coord. office and something
needs to be done about it. Please investigate this matter, because several of these grievances has been about my
health and due to him rejecting them, it hinders me to the point that it's not investigated, therefore causing me to
endure severe pain when it could've been avoided.

These are the grievances numbers and dates:

|) Sa

24

3) JCF 2210/2213/28E (refuse to send step II)
4) JCF 2210/2212/28E (refuse to send step II)
5) | submitted four grievances on 12/13/22 and placed them into unit kite box like | do on all grievances. One
grievance is on Food Dir. Coffelt, Two on Health Care and HUM Landfair, and one on G.C. Cobbs for the reason I'm
sending you this complaint. VU S-3r2 12-872.
Thank you for your time in this matter and | hope that your office took into this serious complaint and correct it.

Sincerely,
Tyrone Reyes

JPay Tell your friends ano family to visit www jpay.com to write letters and send money!

Case 2:24-cv-11243-GAD-Cl, ECF No. 1-1, PagelD.123 Filed 05/10/24 Page 23 of 39
Michigan Department of Corrections eyoPP
6G

Clinical Encounter

Offender Name: REYES, TYRONE LEE Off #: 0266511
Date of Birth: 08/24/1980 Sex: M Facility. JCF
Encounter Date: 01/03/2023 09:48 Provider: Ramos-Nunez, Email Unit: A

Nursing Note encounter performed at Clinic.
Barriers to Communication: Hearing Impaired
Method of Communication:

Voice Communication without Hearing Aid - DHH
Acknowledgement of Communication:

Verbally acknowledges communication was effective
Responded and/or asked apprapriate quastions

Repeated or rephrased information given
SUBJECTIVE:

COMPLAINT 1 Provider; Ramos-Nunez, Email [ER6] RN
Chief Complaint: Pain
Subjective: — Prisener complaining of pain of the right foot and return of ACE WRAP
Pain Location: Foot-Right
Pain Scale: 7 |
Pain Qualities: Aching | Shooting |
History of Trauma:
Onset: 2-6 Months
Duraticn: 2-6 Months
Exacerbating Factors: Moving the right lower extremity
Relieving Factors: Medication use of Motrin

Comments:
OBJECTIVE:
Exam:
ASSESSMENT:
Acute pain
‘Prisoner ambulates independently with a pronounce limp with the right side affected. Speech is clear and appropriate,
breathing even and unlabored. Prisoner into clinic for return of ACE WRAP. Prisoner complaining of right foot still
"hurting". Prisoner stated this issue has been going on since October of 2022, Assessment was made of bilateral legs. |
Pedal pulses strong bilaterally, brisk cap refill bilaterally. +1 right foot edema, tender upon palpation of the right foot.
Prisoner has also stated he's been requesting for an XRAY of the right foot for "a very long time". Chart review sent to
Provider for further assessment. Prisoner voiced no further concerns at this time. RTU in NAD.
PLAN:
Schedule:
Activity Date Scheduled Scheduled Provider
Chart Review 01/03/2023 00:00 Medical Provider

Prisoner complaining of right foot pain, further assessment needed. Had an ACE WRAP for 3 weeks.

See NURSE NOTE on 01/03/22

Generated 01/03/2023 10:07 by Rames-Nunez, Email [ER6] MDOC - JCF Page 1 of 2

Case 2:24-cv-11243-GAD-Cl ECF No. 1-1, PagelD.124 Filed 05/10/24 Page 24 of 39
Michigan Department of Corrections EGO

Clinical Encounter - Administrative Note

Offender Name: REYES, TYRONE LEE Off #: 0266511
Date of Birth: 08/24/1980 Sex: M Facility: JCF
Note Date: 01/03/2023 21:47 Provider: Bale, Melanie [MB32] NP Unit: A

Barriers to Communication: Hearing Impaired
Method of Communication:
Voice Communication without Hearing Aid - DHH
Acknowledgement of Communication:
Verbally acknowledges communication was effective
Responded and/or asked appropriate questions
Repeated or rephrased infarmation given
Administrative Notes:
ADMINISTRATIVE NOTE 1 Provider: Bale, Melanie [MB32] NP

Patient seen in HC today r/t continued pain and discomfort on right side LE. Patient referred to MP by nursing.

MP UNR encounter performed at Clinic.
|
|

Nursing completed assessment of patient and patient endorsed pain and discomfort, tenderness with
palpation and with ROM,

Temperature:
Date Time Fahrenheit Celsius Location Provider
01/03/2023 14:06 JCF 98.1 36.7 Oral Ramos-Nunez, Email [ER6] RN
Pulse:
Date Time Rate Per Minute Location Rhythm Provider
01/03/2023 14:06 JCF 56 Via Machine Ramos-Nunez, Email [ER6] RN
Respirations:
Date Time Rate Per Minute Provider
01/03/2023 14:06 JCF 16 Ramos-Nunez, Email fER6} RN
Blood Pressure:
Date Time Value Location Position Cuff Size Provider
01/03/2023 14:06 JCF 117/74 Left Arm Sitting Adult-large §Ramos-Nunez, Email [ER6]
Spoz2:
Date Time Value(%) Air Provider
01/03/2023 14:06 JCF 98 Ramos-Nunez, Email fER6] RN
Weight:
Date Time Lbs Kg Waist Circum, Provider
01/03/2023 14:06 JCF 159.0 72.4 Rames-Nunez, Email [ER6] RN
ASSESSMENTS:
Pain in right ankle and joints of right foot, M25.571 - Current, Temporary/Acute, Initial ‘
New Medication Orders:
Rx# Medication Order Date Start Date Quantity Prescriber Order
lbuprofen Oral Tablet 400 MG 01/03/2023 21:47 01/03/2023 42 1 tab By Mouth three

times daily x 14 day(s) -
- DO nat take with other
NSAIDs including
naproxen, mobic, or
diclofenac.

indication: Pain in right ankle and joints of right foot
Generaied 07/03/2023 21:52 by Bale, Melanie [M832] NP MDOC - JCF Page 1 of 2

Case224-oy-414243.GADACl ECE No 1.1 Pagelb 125. Filed 05/10/24 Page.25 af 39
Offender Name: REYES, TYRONE LEE Off #: 0266511
Date of Birth: 08/24/1980 Sex: M Facility: JCF
Note Date: 01/03/2023 21:47 Provider; Bale, Melanie [MB32] NP Unit: A
New Radiology Request Orders:
Details Frequency End Date Due Date Priority
General Radioclogy-Lower Extremeties- One Time 01/05/2023 Routine

Ankle [Right], General Radiology-Lower
&xtremeties-Foot [Right]
Authorization Number:

Specific reason(s) for request (Complaints and findings):
continued pain after twisting ankle two times

PLAN:

Disposition:
Education Provided

Follow-up at Sick Cail as Needed
Kite PRN

Other:

x ray of right ankle to be ordered, patient advised to take motrin ATC to help with swelling. Patient to be provided with
ace wrap to continue providing ankle with support due to continued swelling and pain with ambulation.
Patient verbalized understanding.

Patient Education Topics:

Date Initiated Format Handout/Topic Provider Outcome
01/03/2023 Counseling Access to Care Bale, Melanie Verbalizes

Understanding

01/03/2023 Counseling Plan of Care Bale, Melanie Verbalizes
Understanding

Co-Pay Required: No Cosign Required: No
Telephone/Verbal Order: No
Standing Order: No

Completed by Bale, Melanie {MB32] NP on 01/63/2023 21:52

Generated 01/03/2023 21:52 by Bale, Melanie [M832] NP MDOC - JCF Page 2 of 2

|
PTRMVIYES Oe? 22-69-99 DU IACTARMER -VOPOROMILA BA gkID! 920° Fad 0S/0/24 Page 26 of Eck
AO

You have received a JPQY letter, the fastest way to get mail

From : TYRONE REYES, ID: 266511
To: Marjorie Toins, CustomerID: 2031960
Date . 2/3/2023 10:52:26 AMEST, Letter ID: 1691825394
Location: TCF
Housing: AAO88BOTA

To: Ms.Karmen Bussell, RN |
MDOC

From: Tyrone Reyes
#266511 (JCF)

Date: Feb. 3rd, 2023
Re: Complaint against HUM Landfair and JCF Medicai Staff

RN Bussell, | hope this reaches you in good health. | believe | was given swift attention when I sent you a
complaint dated (1/3/23). Thank you, | was given a x-ray on (1/10/23 ). On (1/19/23), | was notified that | have a
Lateral Malleolar fracture with soft tissue swelling. | was also notified that a orthopedic consultant was requested, It
was siated in the provider note that | refused crutches, | did not refuse crutches, | alerted the provider that | have a
bold right shoulder, in which | am awaiting to have surgery on it and it cannot withstand the pressure of the crutches.

i've submitted several medical request kites to be treated for the pain, and a possible no work or light duty work
detail, to no avail. Having to walk for several hours three times a day at work is possibly damaging an already fracture
ankie. Scott Logan, M.D., recommended that a follow up radiographic evaluation in 10-14 days, MRI, or three phase
bone scan would be recommended to exclude an occult fracture, if pain is persistent. In which, none has been done.

RN Bussell, this is an ongoing issue at this facility, whereas medical kites is not being answered for weeks and
sometimes months. Something that | can prove. | was recently called out and the nurse had four kites written over a
period of three months. This is unacceptable, but nathing is being done. Nurses are being ordered to tell officers
when they call on behalf of someone, that an offender has to fill out a medical kite if they're not bleeding or dying.

Please look into why I'm not being treated properly and please look into this practice of not seeing offenders if
they're not bleeding or dying. Thank you for your time in this matter.

yours truly,
Tyrone Reyes

What ‘attempt did you make to resolve this issue prior to writing this grievance? On what date?

_Four copies of each page and supporting documents must be submitted with this form. The | grievance must be su
to the Grievance Coordinator i in accordance with the time limits of OP 03.02.130. ~ ‘es

- RESPONSE (Grievant Interviewed? LC] yes LINo __IfNo, give explanation. If resolved; explain resolutt

Case 2:24-cv-11243-GAD-Cl ECF No. 1-1, PagelD.127 . Filed-05/10/24;

MICHIGAN DEPARTMENT OF CORRECTIONS
PRISONER/PAROLEE GRIEVANCE FORM

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MICHIGAN DEPARTMENT OF CORRECTIONS
PRISONER/PAROLEE GRIEVANCE FORM

Date Received at Step 1 Grievance Identifier: |

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_to the Grievance Coordinator in accordance with the time limits of OP 03. 02. 130.

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Respondent’s Signature Date Reviewer's Signature

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Case 2:24-cv-11243-GAD-Cl ECF No. 1-1, PagelD.129 Filed 05/10/24°"Pagé 29 of:39

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MICHIGAN DEPARTMENT OF CORRECTIONS
PRISONER/PAROLEE GRIEVANCE FORM

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Grievant: _ | Resolution must be described above. Grievant's Signature Date

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Case 2:24-cv-11243-GAD-Cl ECF No. 1-1, PagelD.130 vu 05/10/24 P eso Pl 39

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Be brief and concise in describing your grievance issue. If you have any questions concerning the grieyanes
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Case 2:24-cv-11243-GAD-Cl ECF No. 1-1, PagelD.131 Filed 05/10/24 Page 31 of 39

MICHIGAN DEPARTMENT OF C3J-2478 3/18/2019
CORRECTIONS

STEP I GRIEVANCE RESPONSE SUPPLEMENTAL FORM
(Use if space on the CSJ-247A is insufficient for a full response by stating on the CSJ-247A “See attached CSJ-2475"}

Prisoner Last Name: Prisoner #: Lock/Location: Grievance #:
Reyes 266511 068/1 JCF-23-06-1032-12E1
Prisoner Interviewed: YES C] NO &) if “NO”, Reason: See Decision Summary for Reason
Extension Granted: YES 7 NO >) 8 6If“YEs”, Enter End Date: Click or tap to enter a date,
COMPLAINT SUMMARY: ,

Grievant with complaint that he was denied care for his right shoulder,

INVESTIGATION SUMMARY:
Electronic health record reviewed and it is noted grievant had surgery on the right shoulder. It is noted grievant has been evaluated by
medical staff multiple times, Staff have offered pain management medications that were refused and denied.

APPLICABLE POLICY, PROCEDURE, ETC.:
P.D. 3.04.100

DECISION SUMMARY:

Review of the medical chart was completed. Grievant has been seen by medical statf mu-- ple times. Pain management medications
have been offered and refused by grievant. A request for an evaluation by a medical provider has been placed and is pending an
appointment.

Grievance denied.

Interview not completed. No further information required.

RESPONDENT NAME: Alinda Florek TITLE: Registered Nurse
RESPONDENT SIGNATURE: () hal \ Gn ) DATE: 6/16/2023

Ad) Fhe
REVIEWER NAME: Mandi Hollister TITLE: Registered Nurse Manager
REVIEWER SIGNATURE: WV. {i ptMylee> po DATE: 6/16/2023

Distribution: Original - Step | Grievance Coordinator Copies — 3 To Grievant (I Prisoner Copy, | for Step II filing; | for Step II filing)

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Be brief and concise in describing your grievance issue. | If you have any questions, concerning the grievance -
procedure, refer to PD 03.02.130 and OP 03.02.130 available in the prison Law Library.

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Case 2:24-cv-11243-GAD-Cl ECF No. 1-1, PagelD.133 Filed 05/10/24 Page 33 of 39

MICHIGAN DEPARTMENT OF CSJ-2478 3/18/2019
CORRECTIONS

STEP I GRIEVANCE RESPONSE SUPPLEMENTAL FORM

(Use if space on the CSJ-247A is insufficient for a full response by stating on the CSJ-247A “See attached CSJ-247S")

Prisoner Last Name: Prisoner #: Lock/Location: Grievance #:
Reyes 26651 | 068/1 JCF-23-06-1104-12D1
Prisoner Interviewed: YES C] NO  If“NO”, Reason: See Decision Summary for Reason
Extension Granted: YES [] NO [= If*YES”, Enter End Date: | Click or tap to enter a date.
COMPLAINT SUMMARY: '

Grievant with complaint that he has not received appropriate care for his shoulder injury.

INVESTIGATION SUMMARY:

Electronic health record reviewed and it is noted grievant had a post operative appointment with the surgeon on 4/5/2023 where
grievant indicated pain at the time was from the surgery itself. He decided to do rehab himself. Documentation was reviewed following
the appointment on 4/5 and a second follow up appointment off-site was not deemed necessary at the time. A medica! provider follow
up to evaluate a need for a return visit to the surgeon or physical therapy has been requested and is pending scheduling.

APPLICABLE POLICY, PROCEDURE, ETC.:
P.D. 3.04.100

DECISION SUMMARY:

Review of the medical record was completed. A second follow up appointment with the surgeon was not deemed necessary during on-
site medical provider review of follow up report. An on-site medical provider follow up appointment is pending scheduling to evaluate
further treatment.

Grievance denied.

Interview not completed. No further information required.

RESPONDENT NAME: Alinda Florek / TITLE: Registered Nurse
RESPONDENT SIGNATURE: { ‘ np g, DATE: 6/27/2023

REVIEWER NAME: andi Hollister TITLE: _ Registered Nurse Manager
REVIEWER SIGNATURE: 4 } i dtED> we) DATE: 6/27/2023

Distribution: Original - Step 1 Grievance Coordinator Copies - 3 To Grievant (1 Prisoner Copy; | for Step II filing; | for Step III filing)

Case 2:24-cv-11243-GAD-Cl ECF No. 1-1, PagelD.134 Filed 05/10/24 Page VY

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Case 2:24-cv-11243-GAD-Cl ECF No. 1-1, PagelD.137 Filed 05/10/24 Page 37 of 39

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From: Tyrone L. Reyes,
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Date: July TAth, 2023

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RESPONSE (Grievant Interviewed? L] Yes NJ No If No, give explanation. [f resolved, explain resolution.)

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